Case 1:20-cv-02591-NRN Document 14 Filed 10/19/20 USDC Colorado Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO


Civil Action No. 20-cv-02591-NRN

SHAPESHIFT US, INC., a foreign corporation,

Plaintiff,

v.

AZAMAT MUKHIDDINOV, in individual,

Defendant.




                   STIPULATION FOR DISMISSAL WITH PREJUDICE


        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), Plaintiff ShapeShift US, Inc. and Defendant

Azamat Mukhiddinov stipulate to dismiss this action with prejudice, each party to bear his or its




FP 38721807.1                                   1
Case 1:20-cv-02591-NRN Document 14 Filed 10/19/20 USDC Colorado Page 2 of 3




own costs and attorneys’ fees.

        DATED this 19th
                   ___ day of October, 2020       Respectfully submitted,

                                                  s/ Michael R. Greco_______
                                                  Michael R. Greco
                                                  FISHER & PHILLIPS, LLP
                                                  1125 17th Street, Suite 2400
                                                  Denver, Colorado 80202
                                                  Telephone: (303) 218-3650
                                                  Fax: (303) 218-3651
                                                  mgreco@fisherphillips.com

                                                  s/ David C. Roth_________
                                                  David C. Roth
                                                  FISHER & PHILLIPS, LLP
                                                  1125 17th Street, Suite 2400
                                                  Denver, Colorado 80202
                                                  Telephone: (303) 218-3650
                                                  Fax: (303) 218-3650
                                                  droth@fisherphillips.com

                                                  Attorneys for Plaintiff
                                                  ShapeShift US, Inc.

                                                  THE EICHNER LAW FIRM

                                                  s/ Kenneth F. Eichner
                                                  Kenneth F. Eichner
                                                  3773 Cherry Creek Drive North
                                                  West Tower, Suite 900
                                                  Denver, Colorado 80209
                                                  T: (303) 837-9800
                                                  ken@eichnerlaw.com

                                                  Attorney for Defendant
                                                  Azamat Mukhiddinov




FP 38721807.1                                 2
Case 1:20-cv-02591-NRN Document 14 Filed 10/19/20 USDC Colorado Page 3 of 3




                                 CERTIFICATE OF SERVICE

        I hereby certify that on this 19th
                                      ___ day of October, 2020, I electronically filed the foregoing
STIPULATION FOR DISMISSAL WITH PREJUDICE with the Clerk of the Court for the
United States District Court for the District of Colorado using the CM/ECF system, which will
effect service on all parties of record.

                                                         Michael R. Greco
                                                      s/_________________________
                                                      Michael R. Greco




FP 38721807.1                                    3
